        Case 1:15-cr-00186-DLH            Document 53      Filed 04/08/16      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER DENYING MOTION
                                      )       FOR RECONSIDERATION AND REQUEST
       vs.                            )       FOR HEARING
                                      )
Fredrick Taylor,                      )       Case No. 1:15-cv-186
                                      )
               Defendant.             )


       Defendant is charged in an Indictment with the offense of conspiracy to possess with intent

to distribute and distribute 500 or more grams of a mixture and substance containing detectable

amounts of methamphetamine. He made his initial appearance and was arraigned on December 7,

2015. He was afforded a detention hearing on December 9, 2015. Finding that the Government had

proven by a preponderance of the evidence that defendant was a flight risk and by a clear and

convincing evidence that defendant posed a danger to others or the community, the court ordered

defendant detained pending trial.

       On March 29, 2016, defendant filed a motion for reconsideration of the court’s detention

order. Therein he acknowledges his criminal history and past gang involvement. However, he

maintains that he is neither a danger nor a flight risk, citing, amongst other things, his completion

of anger management classes in 2011, participation in alcohol abuse treatment in 2014, and past

involvement in community outreach efforts sponsored by the Wendale Davis Foundation, an

organization based in Bakersfield, California, that provides services to at risk youth.

       On April 7, 2016, the Government filed a response in opposition to defendant’s motion. It

maintains that defendant remains both a danger to the community and risk of flight given his


                                                 1
        Case 1:15-cr-00186-DLH          Document 53        Filed 04/08/16     Page 2 of 2




extensive criminal history, the seriousness of instant charge and prospect of a substantial sentence

if convicted, his lack of ties to the community, and his attempt to flee from law enforcement when

arrested on December 4, 2015.

       Defendant’s involvement with the Wendale Davis Foundation is laudable as are his

purported efforts to address his alcohol and anger management issues. Nevertheless, the court

concludes there has been no material change of circumstances to warrant reconsideration of its

detention order. Defendant’s criminal history is extensive and he lacks any substantial ties to the

State of North Dakota. Moreover, it would appear from the bond report prepared by the Pretrial

Services Office that there are felony drug charges currently pending against defendant in the State

of Montana.

       Accordingly, defendant’s motion for reconsideration and request for a hearing (Doc. Nos.

49 and 51) are DENIED.

       IT IS SO ORDERED.

       Dated this 8th day of April, 2016.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court




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